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                        8                              UNITED STATES DISTRICT COURT
                        9                          CENTRAL DISTRICT OF CALIFORNIA
                       10
                            MARIA KIRSCHNER,                                Case No: 5:21-cv-00263-JGB-SHK
DONAHUE & HORROW LLP




                       11
                                          Plaintiff,                        NOTICE OF SETTLEMENT
                       12
                                   vs.
                       13
                            SUN LIFE FINANCIAL; HARWOOD
                       14   CONSTRUCTION, INC., HARWOOD
                            CONSTRUCTION, INC. EMPLOYEE
                       15   WELFARE BENEFIT PLAN and DOES
                            1 through 10, inclusive,
                       16
                                          Defendants.
                       17

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                       19         PLEASE TAKE NOTICE that the parties reached an agreement to resolve this
                       20   action in its entirety. Documents are currently being prepared to finalize the
                       21   resolution of this matter, and the parties anticipate filing a stipulation to dismiss the
                       22   entire action, each side to bear their own attorneys’ fees and costs, within 45 days.
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                       24   Dated: April 25, 2022                           DONAHUE & HORROW LLP
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                       26                                                   ___________________________
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                       28                                                   Attorneys for Plaintiff

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                                                                NOTICE OF SETTLEMENT
